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AO 88B (Rey. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT
for the EXHIBIT

Eastern District of Wisconsin

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CLF One \ Ph,

ne )
‘Plaintiff )

Vv. ) Civil Action No, g 2 mi tive OOS ot
. . )
Stcte o£ WWiseonsim etal)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

- Jetfey ornan

(Name of person to whom this subpoena is directed)

i Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material: Cn axrez\ mei 2) & T)E -9z ol \OGQ Sulp POCA 1 Fymbat> (23

Place: fv, Box 2(Su at (Lacne. WL Date and Time: 4190 an
S240¢g Qtobxf 7 Aoau

{7 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time;

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potentjal-e@nsequences of not doing so.

OR

Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
, who issues or requests this subpoena, are:

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person tg whom it is directed. Fed. R. Civ. P. 45(a)(4). Ft £
S
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 23-¢v-0082

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

On (date)

C I served the subpoena by delivering a copy to the named person as follows:

on (date) ; or

[J I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc.:
IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF WISCONSIN

TERRENCE FITCH,
Plaintiff,
Case No. 23-cv-0082

THE STATE OF WISCONSIN, et al., JURY TRIAL
DEMANDED

Defendant.

SUBPOENA DUCES TECUM

GREETINGS:

TO:

Josh Kaul

Gesina S Carson

Assistant Attorney General
State Bar # 1055162

PO BOX 7857

Madison WI 53707

Tearman Spencer

Anthony Jackson

Assistant City Attorney
1090574

200 East Wells Street Rm 800
Milwaukee, WI 53202

Email: laiack(@milwaukee.gov

William G. Davidson

William G. Davidson, WI SBN

1097538

901 N. 9th Street, Room 303 _

Milwaukee, WI 53233

414-278-4300
William.Davidson@milwaukeecountywi.gov

Page 1 of 5
#TJF-03011966-Subpoena
On behalf of :

Joseph Lacroix
Tonya Rosales,
Milwaukee County
City of Milwaukee
Jeffrey Norman
Jay Karas

FROM:

Terrence Fitch
P.o Box 81842
Racine, Wisconsin 53408

YOU ARE HEREBY COMMANDED To produce and permit inspection and copying
of the documents or objects in accordance with Attachment A at the place, date, and time
specified above, at the request of the Plaintiff in the above-entitled cause

Attachment “A”

I. DEFINITIONS

“Document” means, without limiting without limiting its generality , the original (or a
copy when the original is not available ) and each non identical copy (including those which
are non identical by reason of notations and markings) of papers, writings and records of any
nature whatsoever, including, but not limited to, electronic mail messages, contracts,
agreements, photographs, body cam footage, reproductions, warrants, suspect warrants,
suspect probable cause statement(s), probable cause statement(s), video recordings, holding
cell, processing cell, interviews, memoranda recordings, mailings, tape recordings, open
record request history, or other data compilations from which information can be obtained
through detection devices into reasonably usable forms, conversations or telephone
conversations and any and all written, printied, typed, punched, or recorded matter of
whatsoever kind of descriptions, archival media, or other electronic date, document or
message storage of any kind or nature (whether on a disk, hard drive, file server, personal
computer or other medium).

Page 2o0f5
#TJF-03011966-Subpoena
“You” or “your agents, servants, employees, attorneys, or representatives” includes
but is not limited to all persons, professionals and/or associates, legal assistants and/or
support staff who performed work as part of your team or under your supervision or at your
direction in connection with the topics identified in this subpoena.

I. INSTRUCTIONS

1. Please produce all the documents, described below, wherever located, which are in the
possession, custody or control of you or any of your agents, servants, employees,
attorneys, or representatives.

2. Any copy of a document that varies in any way from the original or from any other
copy of the document, whether by reason of handwritten or other notation or any
omission, shall constitute a separate document and must be produced.

3. The original of each document requested is to be produced. Each document requested
is also to be produced for inspection in its original file folder, file jacket, or cover.

4, Documents are to be produced in such a fashion that the specific individual or entity
from whom they obtained can be readily determined.

5. Ifyou do not produce any document herein requested under a claim of privilege, work
produce, or other ground of non production, please submit in lieu of such document
written statement which:

(a) specifies the privilege, work product, or other asserted ground of
non-production;

(b) describes the nature and general topic of the documents to the extent possible
in a manner consistent with the privilege, work product, or other asserted
ground of non production;

(c) identifies the person or persons who prepared the documents and, applicable,
the person or persons to whom the document was sent;

(d) identifies each other person who has seen or had possession of the documents;
and

(e) specifies the date on which the document was prepared by the author and/or
received by the addressees.

6. If any document was, but no longer is, in your custody or control, state whether it has
been lost, destroyed, transferred, or otherwise disposed of, and in each instance,
identify the document as completely as possible, including without limitation, the
author(s), addressee(s), any person(s) who say the document, the date of the document
and date when the document was received, the subject matter of the document, and the

Page 3o0f 5
#TJF-03011966-Subpoena
circumstances surrounding the disposition of the document and the date that
disposition occurred.

Ill. DOCUMENTS REQUESTED
Produce copies of:

1. All records reflecting or referring to the arrest and incarceration of TERRENCE J
FITCH on the 23rd - 24th of February of 2021. Attached Exhibit 2

2. All records reflecting or referring to the open records produced for year 2021-2024
Attached Exhibit 3a, 3b, 3c, 3d

Dated: | U- 2~ 29°04

STATE OF WISCONSIN
mw
ai
a. a= HF
Terrence Fitch

Plaintiff Propria Personam

Page 4o0f5
#TJF-03011966-Subpoena
VERIFICATION

(STATE of LUZ conga _)

(COUNTY of Re, Cine ) ss.

ee
I, levee ew Ret Ls. (PRINT) being duly sworn, deposed and says
that I am named as the Plaintiff in the above-entitled proceeding and that the foregoing
information is true to his own knowledge, except as to matters herein stated to be alleged
on information and belief and as to those matters he believes it to be true.

(Signature); Plaintiff, In Propria Persona.
All Rights Reserved pursuant to
UCC-1-308.

The foregoing instrument was acknowledged before me
A ind
This 2’ day of OC 7024 ,
Y ‘
By Olcinre Lenn

Sworn to before me this 2 say of Och. , (024

Notary Public

Christine Allson Worth
Notary Public, State of Wisconsin

a

Page 5o0f5
#TJF-03011966-Subpoena
VWiiwaukee County Arrest - vetention Keport YX \ \ Page 7 ofz

MPD ID #: 000564898 MPD BK #: 412101881 SID /FBI#: 1164457 / 592993RC5 [N] Juvenile
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D Sox Race HINA Socal Security # Driver's License # / Stato
2 IM B N 393942515
=! Heino Addenss Apt City — Stata Zip
3 1717 DEANE BLVD RACINE | wi 53405
° Marital Status Military Branch Place of Birth (City and Stato} US Citizen Country af Gitzenship
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‘Date Time Agency ID Cistdet / Bureau Arrest Address
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@ |MPD 029803 LaCroix Il, Jospeh
& lAgancy ID ‘Arresting Officer Emp ID Arresting Officer Name Hsuict / Bureau
Agency ID Arresting Officer Emp ID Arresting Officer Name District / Bureau
Conveyed To: CJF/ District Station / Hospital / Other | °° By: Squad / Ambulance / Med Unit
a Agency (D Employee (D Name | District) Buresy Squad #
ff MPD 028810 Rosales. Tanva
s Conveyed To:  CJF / District Station / Hospital / Other | >=" _ By: Squad / Ambulance / Med Unit
5 Agency ID | Employee ID Name | Dintict/ Bureau | Squad #
8 :
Released By Doctor Date Retumed io CIF Time Retumed to CIF

Arrestve demeanor: Cooperative/Argumentive/Combative { Physical Observation: OK / Sick / Injured / Intoxicated / Incapacitated

NURSE tf ID Signature. Print Remarks:
Officer Processing Case | Patson/Aresting Officer Enepiajos Name | Roenay i
(Warrant (Commits Offense Dato Count Case #/ Summary Issuing Agency

05/06/2018

tatyte / Ordinance # (Gherge Cescription Far

940.225(2)(cm) 2Nd Deg. Sex Assault-Intoxicated Victim F

1 |Modifies: DV  DDV WHILE ARMED 2ND/SUB DOCS 1000" HAB CRIM MASKED ATTEMPT OTHER:
If Dispo: REFL /ARL / Other: Deft. To Appear at: Date: Time: Sig:
Remarks:Case Number:181260164

MIIWwauKee COUNTY Arrest - vetentuon Keport

Page 2 ofz

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FITCH TERRENCE JAMAL M B 6/10/1985
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State of Wisconsin, Milwaukee County Probable Cause Determination
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Subscribed and swom before me this [II find Probable cause to believe that a crime was committed and that
the defendant committed the crime and direct lhat the defendant be
held in custody pending further proceedings In this matter.
day of.
Signature: Date: Time:
| find no probable cause for continued detention and direct that the defendant be released.
Natary Public (Signature)
Signature: Date: Time:
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Record entered M.P.D. System by; (Peopi #)
Admit Y IN Date Time Prebook Emp ID Prebook Signature
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Official Use Only

4 Nat 3 A
Milwaukee Police Department
Police Administration Building

749 West State Street
Milwaukee, WI 53233

hitp:/Awww.city. milwaukee. gov/police
Jeffrey B. Norman
Acting Chief of Police

July 23, 2021

Terrence Fitch
1717 Deane Bivd.
Racine, W! 53405

Dear Terrence Fitch:

This letter is In response to your records request dated February 25, 2021 in which you have made a request for records pursuant to
the Wisconsin Public Records Law. Wis. Stat. §§ 19.31-39. You have requested:

- See Attached Request

The public policy in this state is to give the public the greatest amount of access to government records as possible. Wis. Stat. § 19.31.
The general presumption is that government records are open to the public unless there is a clear statutory or common law exception. If
there is no clear statutory or common law exception the custodian must “decide whether the strong presumption favoring access and
disclosure is overcome by some even stronger public policy favoring limited access or nondisclosure.” Hempel v. City of Baraboo, 2005
WI 120, § 28 (Citations omitted}. Notwithstanding the presumption of openness, the public’s right to access to public records is not
absolute. Journal/Sentinel v. Aagerup,145 Wis. 2d 818, 822 (Ct. App. 1988).

Upon Inspection of our records, the records custodian has determined that the following items are responsive to your request:

Case #1811260164

CAD #181262380 & #210541546
Probable Cause Statement
Arrest — Detention Report
Suspect Alert

Body Cam Footage

GQaARON>

Item #2 will be released in full. Regarding item #1, 3, 4, 5, & 6, | have determined that it is necessary to make some
redactions.

Personal information of victims and witnesses, including telephone numbers and addresses, have been redacted. After conducting the
required balancing test, we have determined that the expectation of privacy on the part of the citizen witnesses and victims in their
personal lives, the public interests in protecting the sources of law enforcement information, and the public interests in encouraging
citizens to cooperate with law enforcement investigators without undue concern that their private lives will become public matters
outweighs the public interest in the disclosure of the identifying information of the citizen witnesses and victims. Cf. Linzmeyer v.
Forcey, 2002 WI 84, IJ 31-32, 254 Wis. 2d 306, 646 N.W.2d 811.

The Wisconsin Legislature has codified personal safety as a public policy interest even when the requested records directly relate to the
requestor. Specifically, Wisconsin Statute § 19.35(1)(am) limits the disclosure of personally identifying information when the release of
that personally identifying information could endanger an individual's {ife or safety. Similarly, Wisconsin courts have recognized
personal safety as a strong public-policy reason that may justify nondisclosure of a record or a portion of a record. See Linzmeyer v.
Forcey, 2002 WI 84, [ 30, 254 Wis. 2d 306, Klein v. Wisconsin Res. Ctfr., 218 Wis. 2d 487, 496, 582 N.W.2d 44 (Ct. App. 1998), State
ex rel. Morke v. Record Custodian, 159 Wis. 2d 722, 726, 465 N.W.2d 235 (Ct. App. 1990), and Ardell v. Milwaukee Board of Schoo!
Directors, 2014 WI App 66, 349 N.W.2d 894, 354 Wis.2d 471.

Inspection of records may be denied when “there is an overriding public interest in keeping the public record confidential.” Hathaway v.
Joint Sch, Dist. No. 1, 116 Wis. 2d 388, 397, 342 N.W.2d 682 (1984). In State ex rel. Morke v. Record Custodian, 159 Wis. 2d 722 , 465
N.W.2d 235 (Ct. App. 1990), the Wisconsin court of appeals held that a records custodian's denial of a public records request from an
inmate who requested the names, home addresses, and phone numbers of prison employees was justified. The court in Morke held
that the public interest in nondisclosure outweighed the right to inspect. Specifically, the court of appeals held that concem for the
safety and wellbeing of the employees, as well as institutional morale, outweighed the presumption of full access. /d. at 726. The
insurance suit of Monfils v. Charles, 216 Wis. 2d 323, 575 N.W.2d 728 (Ct. App. 1998), took place against a tragic background in which
a police department complied with a public-records request for a tape of a 911 call from an anonymous caller waming of an impending
theft. After release of the tape, the caller was found brutally murdered. The alleged thief (who was also the requester) and some of his
colleagues were later convicted of the murder. As one court has Stated, “[i]n retrospect, the release of the tape was a tragic mistake.”
Milwaukee Teachers Educ. Ass'n, 227 Wis. 2d at 802 (Bablich, J. concurring) (citing Monifils).

After a review of the responsive records and conducting the required balancing test, | have determined that | must redact some
personally identifying information (including names, addresses, phone numbers, etc.) because it Is likely that the release of this
information would endanger the life or safety of the individuals. Thus, certain personally identifying information has been redacted from
the responsive record.

| have redacted all birth dates from the responsive record. Access to an individual's name with their date of birth, if relaased to the
public could lead to the crime of identity theft. Identity theft is becoming one of the fastest growing areas of crime in the United States.
Because of the growing frequency of identity theft, Congress created a federal offense for identity theft, which, in most circumstances,
carries of minimum term of 15 years imprisonment, a fine, and criminal forfeiture of any personal property used or intended to be used
to commit the offense. 18 U.S.C. § 1028({a)(7). The Wisconsin Legislature has also recognized identity theft as sufficiently prevalent to
create a similar crime of identity theft. Wis. Stat.§ 943.201. Identity theft could be accomplished through access to names with home
addresses and dates of birth. The above-referenced statutes represent the Legislature's recognition of a strong public policy in
protecting citizens against the crime of identity theft.

The MPD is required to comply with the regulations and exemptions set forth in the Driver's Privacy Protection Act ("DPPA"). The
DPPA prohibits the release and use of personal information, as defined in 18 U.S.C. § 2725(3), and highly restricted personal
information, as defined in 18 U.S.C. § 2725(4), from state motor vehicle records without the express consent of the person to whom
such information applies.

The DPPA defines personal information as follows:

(3) “Personal information" means information that identifies an individual, including an Individual’s photograph,
social security number, driver identification number, name, address (but not five-digit zip code), telephone
number, and medical or disability information, but does not include information on vehicular accidents, driving
violations, and driver status.

“Highly restricted personal information’ is also defined:

(4) “Highly restricted personal information” means an individual's photograph or image, social security number,
medical or disability information; and

The record that you requested includes personal information obtained by the Milwaukee Police Department from the Wisconsin
Department of Transportation, including driver's license numbers. Pursuant to the DPPA, the MPD is prohibited from redisclosing that
personal identifying information, unless one of 14 enumerated exceptions applies, See 18 U.S.C. § 2721, Maracich et al. v. Spears, et
al., 133 S.Ct. 2191 (2013), Dahlstrom v. Sun-Times Media, LLC, 777 F.3d $37 (7 Cir. 2015), and Senne v. Village of Palatine, Illinois,
784 F.3d 444 (7"" Cir. 2015),

Thus, | have redacted this personal information from the Tesponsive record. Please note that your request is not being denied at this
time.

Regarding Itern #6, please note that the screens of in-squad and district camputers have been blurred out, as disclosure of the contents
of the screen would identify confidential law enforcement information, strategies and tactics. The public records law states that the
exemptions found in the open meetings law may be used as an exception to disclosure under the Public Records Law if supported by
public policy reasons. Wis. Stat. § 19.35(1)(a). One exception under the Open Meetings Law, which we have analyzed in our
application of the balancing test, is when the information related to the consideration of strategies for crime detection or prevention.
See Wis. Stat. § 19.85(1)(d).

Though FOIA does not apply to the state of Wisconsin, Wisconsin courts have relied on guidance from federal court analyses of FOIA
interpretations, as persuasive authority, when making determinations on public records law exceptions. The Wisconsin Supreme Court
has stated that the protections of police tactics found in the Federal Freedom of Information Act (FOIA) may provide a public policy
reason, through the required balancing test, to limit disclosure of records that contain police tactics. Linzmeyer, 254 Wis.2d 306, {J 32.
In this instance, the provision we analyzed was 5 U.S.C, 552(b)(7), which exempts law enforcement records from disclosure when:

[T]he production of such law enforcement records or information (A) could reasonably be expected to interfere with
enforcement proceedings, (B) would deprive a person of a right to a fair trial or an impartial adjudication, (C) could reasonably
be expected to constitute an unwarranted invasion of personal privacy, (D) could reasonably be expected to disclose the
identity of a confidential source, . . ., (E) would disclose techniques and procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law, or (F) could reasonably be expected to endanger the life or physical
safety of any individual.

Id. (quoting 5 U.S.C. §52(b)(7)). In this instance, the information on the screen would reveal information relating to other investigations,
personal information of other individuals, and confidential law enforcement techniques and strategies. There is a public interest in
keeping this information confidential. Disclosure would impact the Milwaukee Police Department's ability to detect crime, as public
knowledge of what Is displayed on the screen would have an impact on the Milwaukee Police Department's strategies, methods and
investigative techniques. Such disclosure could seriously impair and handicap the ability of Police Officers to function in an effective
and efficient manner. Put another way, “if local criminals learn the specific techniques and procedures used by police . . . the disclosed
information could be used to circumvent the law." Democratic Party of Wisconsin and Cory Liebmann v. Wisconsin Department of
Justice and Kevin Potter, 2016 WI 100, 919.

Consequently, after conducting the required balancing test, | have determined that the balance weighs in favor of non-disclosure of the
contents of the computer screens Identified above,

Upon review of your request and upon inspection of Milwaukee Police Department (MPD) records, the records custodian has
determined that there are no records that are responsive to portions of your request. We are unable to locate "Court Records’. MPD is
not the custodian of court records and warrants. Those records would have to be requested from Milwaukee County Court.

Your request for “Law and / statutes for a Suspect Warrant” is a request for information, and not a request for records. The public
records law is designed to make existing record available to the public, subject to any required redactions. However, “the public records
law does not require an authority to provide requested information if no record exists, or to simply answer questions about a topic of
interest to the requester.” Journal Times v. City of Racine Board of Fire and Police Comm'rs. 2015 WI 56, ff 55, see also State ex rel,
Ingrates v. Sch. Dist. of Sevastopol, 146 Wis.2d 629 (Ct. App. 1988) and Wis, Dept. of Justice, Wisconsin Public Records Law
Compliance Guide, at 21 (Nov. 2015). Under Wisconsin law, a records custodian need not create a new racord in response to a records

request. Wis. Stat. § 19.35(1)(L).

Under Wisconsin law, a records custodian need not create a new record in response to a records request for a nonexistent record. Wis.
Stat. § 19.35(1)(L).

This determination is subject to review by mandamus action under Wis. Stat. § 19.37(1), or upon an application to the Wisconsin
Attorney General or the Milwaukee County Corporation Counsel.

Sincerely,

JEFFREY B. NORMAN
ACTING CHIEF OF POLICE

ARAS
LIEUTENANT OF POLICE

JBN: JK: kdt
L03218 Response Letter
Sahu 35 -

Milwaukee Police Department
Police Administration Building
749 West State Street
Milwaukee, WI 53233

http:/Avww.city.milwaukee.gov/police
Jeffrey B. Norman
Chief of Police

August 8, 2021

Terrence Fitch
1717 Deane Blvd.
Racine, WI 53405

Dear Terrence Fitch:

This letter is in response to your records request dated August 3, 2021, in which you have made a request for records pursuant to the
Wisconsin Public Records Law. Wis. Stat §§ 19.31-39. You have requested:

See Attached Request

The public policy in this state is to give the public the greatest amount of access to government records as possible. Wis. Stat. § 1 9.31.
The general presumption is that government records are open to the public unless there is a clear statutory or common law exception. If
there is no clear statutory or common law exception the custodian must “decide whether the strong presumption favoring access and
disclosure is overcome by some even stronger public policy favoring limited access or nondisclosure.” Hempel v. City of Baraboo, 2005
WI 120, {| 28 (Citations omitted). Notwithstanding the presumption of openness, the public’s right to access to public records is not
absolute. Journal/Sentinel v. Aagerup, 145 Wis. 2d 818, 822 (Ct. App. 1988).

Be advised that on July 23, 2021, the Milwaukee Police Department (MPD) Open Récord Section (ORS) responded in writing to your
request for "body and squad cam, interview video, CADs and reports". As such we will not respond further. The Milwaukee Police
Department has statutorily complied (pursuant to the Open Records Law) with this and all your prior requests providing all responsive
records and explanations of any denials or redactions. Consequently, any further inquiries directed to the Open Records Section
regarding this matter will be placed in file without further action. If instead you need additional copies of a record that we have provided
you, please contact our office. You will be charged for any additional copies that are sent.

This determination is subject to review by mandamus action under Wis. Stat. § 19.37(1), or upon an application to the Wisconsin
Attorney General or the Milwaukee County Corporation Counsel.

Sincerely,

JEFFREY B. NORMAN
ACTING CHIEF OF POLICE

JAY KARAS
LIEUTENANT OF POLICE

JBN: JK: kdt
L03218 Reference Number
Cyn Miwaukee * vn

Police Administration Buliding
749 West State Street
Milwaukee, W1 53233

https/Avaww.city.milwaukee.gov/police
Joffrey B. Norman
Acting Chief of Police

October 20, 2021

Terrence Fitch
1717 Deane Blvd.
Racine, WI 53405

Dear Terrence Fitch:

This letter is in response to your correspondence regarding your records request, dated February 25, 2021, in which
you have made a request for records pursuant to the Wisconsin Public Records Law. Wis. Stat. §§ 19.31-39. Scans
of your original request are included with this letter.

The records custodian has determined that the items you previously requested have been provided with a response
from the Milwaukee Police Department, dated July 23, 2021. A scan of this July 23, 2021, response letter and the
records provided with said letter have been burnt to a disc which is being provided to you.

Upon review of records maintained by the Milwaukee Police Department, the records custodian has determined that
the only unique record not provided to you on July 23, 2021, and requested since then is a video of your Mirandized
statement. No other requested records, not already provided, have been located or are maintained by the Milwaukee
Police Department.

This Mirandized statement video is being provided in full, without redaction.

The records that the Milwaukee Police Department (MPD) Open Record Section (ORS) believes to be responsive
records are enclosed. With the transmission of these records to you, the records custodian will consider your request
closed.

Sincerely,

JEFFREY B. NORMAN
ACTING CHIEF OF POLICE

JAY J. KARAS
LIEUTENANT OF POLICE

JBN: JJK: ro
2100549 ORS Reference Number c.f. L03218
Police Administration Building
749 West State Street
Milwaukee, WI 53233

http:/Avww.city.milwaukee.gov/police
Jeffrey B. Norman
Chief of Police

WA YF cere

January 13, 2023

Terrence Fitch
PO BOX 81842
Racine, WI 53408

Dear Terrence Fitch:

This letter is in response to your records request we received on January 12, 2023, in which you have made a request for records
pursuant to the Wisconsin Public Records Law. Wis. Stat. §§ 19.31-39. You have requested:

See Attached Request

The public policy in this state is to give the public the greatest amount of access to government records as possible. Wis. Stat. § 19.31.
The general presumption is that government records are open to the public unless there is a clear statutory or common law exception. If
there is no clear statutory or common law exception the custodian must “decide whether the strong presumption favoring access and
disclosure is overcome by some even stronger public policy favoring limited access or nondisclosure.” Hempel v. City of Baraboo, 2005
WI 120, {| 28 (Citations omitted). Notwithstanding the presumption of openness, the public’s right to access to public records is not
absolute. Journal/Sentinel v. Aagerup,i45 Wis. 2d 818, 822 (Ct. App. 1988).

Be advised that on July 23, 2021, the Milwaukee Police Department (MPD) Open Record Section (ORS) responded in writing to your
request for “body and squad cam, interview video, CADs and reports’. As such we will not respond further. Your latest request
inaccurately states “Terrence Fitch has not received any of the requested documentation from MPD Open Records for the above arrest”
although we have email documentation of you acknowledging receipt.

On October 20, 2021 we responded an additional time providing the mirandized statement video that wasn’t included in the first
response.

The Milwaukee Police Department has statutorily complied (pursuant to the Open Records Law) with this and all your prior requests
providing all responsive records and explanations of any denials or redactions. Consequently, any further inquiries directed to the Open
Records Section regarding this matter will be placed in file without further action.

The Milwaukee Police Department has provided all responsive records that we have regarding this request. Your request for
“discovery” regarding the case may be submitted to the Milwaukee County Clerk of Courts,

This determination is subject to review by mandamus action under Wis. Stat. § 19.37(1), or upon an application to the Wisconsin
Attorney General or the Milwaukee County Corporation Counsel.

Sincerely,

JEFFREY B. NORMAN
CHIEF OF POLICE

LIEUTENANT

POLIC

JBN: JK: jjk
2300974 Reference Number

Enclosed: Prior communitcations between MPD ORS and Terrence Fitch
